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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 18-60166-MC-DIMITROULEAS

  EXPRESS HOMEBUYERS USA, LLC,

                 Plaintiff,

  v.

  WBH MARKETING, INC.,

              Defendant.
  ______________________________/


                                              ORDER
                 THIS CAUSE is before the Court on Counsel, Ugo Colella's, Motion to Appear Pro

  Hac Vice (ECF No. 39) on behalf of Plaintiff, Express Homebuyers, LLC, which was referred to

  United States Magistrate Judge, Lurana S. Snow. Being fully advised, it is hereby

                 ORDERED AND ADJUDGED that the motion is GRANTED. Ugo Colella., Esquire

  is hereby permitted to enter a limited appearance for purposes of representing the Plaintiff in this

  cause; Harvey Gurland, Jr., Esquire is designated as local counsel. The Clerk shall provide

  notification of all electronic filings to counsel at the e-mail address provided in the motion.

                 DONE AND ORDERED at Fort Lauderdale, Florida, this 23rd day of March, 2018.




  Copies to:

  John J. Zefutie, Jr., Esq. (PHV Counsel -P)
  Ugo Colella, Esq. (PHV Counsel - P)
  Harvey W. Gurland, Jr., Esq. (Local Counsel for Zefutie and Colella)
